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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

In re:                                                      Case No. 16-42272
         CARDELL DESHAY

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Diana S. Daugherty, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 04/01/2016.

         2) The plan was confirmed on 08/09/2016.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 02/08/2018, 06/01/2018.

         5) The case was dismissed on 07/29/2021.

         6) Number of months from filing or conversion to last payment: 61.

         7) Number of months case was pending: 66.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $5,945.00.

         10) Amount of unsecured claims discharged without full payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor           $24,900.00
       Less amount refunded to debtor                          $0.00

NET RECEIPTS:                                                                                 $24,900.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                              $4,000.00
    Court Costs                                                          $150.00
    Trustee Expenses & Compensation                                    $1,518.02
    Other                                                                  $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                               $5,668.02

Attorney fees paid and disclosed by debtor:                  $0.00


Scheduled Creditors:
Creditor                                    Claim         Claim            Claim        Principal      Int.
Name                             Class    Scheduled      Asserted         Allowed         Paid         Paid
ASHLEY FUNDING SVCS LLC      Unsecured          240.00        240.21           240.21           0.00       0.00
C&F FINANCE CO               Secured        21,854.00     21,441.58        21,441.58            0.00       0.00
COLLECTOR OF REVENUE         Priority        1,700.00         320.45           320.45        320.45        0.00
COLLECTOR OF REVENUE         Unsecured          965.80           NA               NA            0.00       0.00
COLLECTOR OF REVENUE         Unsecured            0.00      3,731.78         3,731.78           0.00       0.00
CONSUMER COLLECTION MGMT     Unsecured          212.00           NA               NA            0.00       0.00
IL DEPT OF REVENUE           Unsecured             NA         441.78           441.78           0.00       0.00
IL DEPT OF REVENUE           Priority        2,040.00       3,080.02         3,080.02      1,249.12        0.00
INTERNAL REVENUE SERV        Priority        9,485.00     14,235.74        14,235.74       5,773.16        0.00
INTERNAL REVENUE SERV        Unsecured      11,965.00       9,325.44         9,325.44           0.00       0.00
MIDWEST ACCEPTANCE CORP      Secured         5,572.00       5,773.58         5,773.58      5,773.58     509.08
MIDWEST ACCEPTANCE CORP      Unsecured       3,500.00            NA               NA            0.00       0.00
MO DEPT OF REVENUE           Priority              NA         110.00           110.00          44.63       0.00
MO DEPT OF REVENUE           Secured            500.00      5,088.08         5,088.08      5,088.08     473.88
MO DEPT OF REVENUE           Unsecured             NA       2,937.92         2,937.92           0.00       0.00
MO DEPT OF SOCIAL SVCS       Priority             0.00           NA               NA            0.00       0.00
PREMIER BANKCARD LLC         Unsecured          391.00        391.37           391.37           0.00       0.00
SPRINT CORP                  Unsecured          762.00        762.45           762.45           0.00       0.00
UNIVERSAL CREDIT ACC         Unsecured      11,524.00            NA               NA            0.00       0.00




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Summary of Disbursements to Creditors:
                                                              Claim            Principal           Interest
                                                            Allowed                Paid               Paid
Secured Payments:
      Mortgage Ongoing                                         $0.00             $0.00              $0.00
      Mortgage Arrearage                                       $0.00             $0.00              $0.00
      Debt Secured by Vehicle                              $5,773.58         $5,773.58            $509.08
      All Other Secured                                   $26,529.66         $5,088.08            $473.88
TOTAL SECURED:                                            $32,303.24        $10,861.66            $982.96

Priority Unsecured Payments:
       Domestic Support Arrearage                              $0.00              $0.00              $0.00
       Domestic Support Ongoing                                $0.00              $0.00              $0.00
       All Other Priority                                 $17,746.21          $7,387.36              $0.00
TOTAL PRIORITY:                                           $17,746.21          $7,387.36              $0.00

GENERAL UNSECURED PAYMENTS:                               $17,830.95              $0.00              $0.00


Disbursements:

         Expenses of Administration                             $5,668.02
         Disbursements to Creditors                            $19,231.98

TOTAL DISBURSEMENTS :                                                                       $24,900.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 10/07/2021                             By:/s/ Diana S. Daugherty
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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